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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA,                       :      Hon. Joseph H. Rodriguez

             Plaintiff,                         :      CRIM NO. 1:18-cr-00606

      v.                                        :             OPINION

MATTHEW BURNEY,                                 :

             Defendant.                         :


      This matter comes before the Court on Defendant Matthew Burney’s Motion, pro

se, for Companionate Release under the First Step Act 18 U.S.C. § 3582 (c)(1)(A)(i) [Dkt.

No. 29.] The Court has considered the parties’ written submissions, and for the reasons

stated below, will deny Defendant’s Motion.

      On October 9, 2018, Defendant Burney pled guilty to a one-count information for

Bank Robbery under 18 USC § 2113(a), for the robbery of the PNC Bank in Marlton, New

Jersey. In accordance with his plea agreement, Defendant Burney also conceded to two

other bank robberies—the Bank of America robbery and Chase Bank robbery. On

February 27, 2019, this Court sentenced Defendant Burney to eighty-seven (87) months

in prison and three (3) years of Supervised Release; he is currently serving his sentence

at FCI McKean and projected to be released on February 26, 2024. Accordingly,

Defendant Burney has approximately thirty-seven (37) months remaining on his

sentence. Prior to filing this motion, he applied to the Bureau of Prisons (“BOP”) for

compassionate release. On July 30, 2020, Warden Bradley M. Trate denied that

request.

      Defendant Burney requests compassionate release due to the ongoing Covid-19

pandemic, and for reasons related to his mother and son. Defendant Burney is forty-

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five (45) years old. He alleges that he has “some aliments,” including hypertension,

hyperthyroidism, osteoarthritis, fibromyalgia, and herpes simplex, and that he fears for

his health during this time. His mother, who suffers from dementia COPD and high-

blood pressure, resides in a nursing home. Defendant’s son is a 22-year old community

college student, who has been between homes during this pandemic, as he does not have

a stable residence with his grandmother in a nursing home. [Dkt. Nos. 29, 39.]

       The Government opposes Defendant’s motion. It argues that Defendant Burney

has failed to show an “extraordinary and compelling reason” for release, and that the

protection of public safety conclusively militates against release, in light of his danger to

the community. [Dkt. No. 35.] The Government further details the BOP’s response to

the Covid-19 pandemic, and argues that BOP has made significant efforts to protect its

inmates from this illness. In addition to its Pandemic Influenza Plan, in effect since

2012, BOP “began to modify its operations, in accordance with its Coronavirus (COVID-

19) Action Plan (‘Action Plan’), to minimize the risk of COVID-19 transmission into and

inside its facilities, as of March 13, 2020.” [Id. at p. 7.] BOP continues to revise the

Action Plan to address the on-going crisis. 1

                                    I.     Legal Framework

       Generally, a district court may not modify a term of imprisonment once it has

been imposed, unless the case falls under one of the limited exceptions under the First

Step Act. Pursuant to the Act, a court may modify an imposed term of imprisonment—

       (1) in any case—



1Details and updates of BOP’s operations are available on the BOP website:
www.bop.gov/coronavirus/

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        (A) the court, upon motion of the Director of the Bureau of Prisons, or
            upon motion of the defendant after the defendant has fully exhausted
            all administrative rights to appeal a failure of the Bureau of Prisons to
            bring a motion on the defendant's behalf or the lapse of 30 days from
            the receipt of such a request by the warden of the defendant's facility,
            whichever is earlier, may reduce the term of imprisonment (and may
            impose a term of probation or supervised release with or without
            conditions that does not exceed the unserved portion of the original
            term of imprisonment), after considering the factors set forth in
            section 3553(a) to the extent that they are applicable, if it finds that—

              (i)    extraordinary and compelling reasons warrant such a
              reduction; or

              (ii)   the defendant is at least 70 years of age, has served at least 30
              years in prison, pursuant to a sentence imposed under section
              3559(c), for the offense or offenses for which the defendant is
              currently imprisoned, and a determination has been made by the
              Director of the Bureau of Prisons that the defendant is not a danger
              to the safety of any other person or the community, as provided
              under section 3142(g); and that such a reduction is consistent with
              applicable policy statements issued by the Sentencing Commission;
              and

       (B) the court may modify an imposed term of imprisonment to the extent
           otherwise expressly permitted by statute or by Rule 35 of the Federal Rules
           of Criminal Procedure; and

   18 U.S.C. § 3582(c).

       The Sentencing commission issued a policy statement concerning reduction in

term of imprisonment under the Act, which provides in pertinent part, that after

considering applicable factors set forth in 18 U.S.C. § 3553(a), the “the court may reduce

a term of imprisonment if the court determines that—Extraordinary and compelling

reasons warrant the reduction . . . the defendant is not a danger to the safety of any

other person or to the community, as provided in 18 U.S.C. § 3142(g); and the reduction

is consistent with this policy statement.” U.S.S.G. 1B1.13. As set forth in the policy

statement, medical condition of the defendant may qualify as an extraordinary and

compelling reason, if the defendant is suffering from a terminal illness or

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the defendant is,

   (I)      suffering from a serious physical or medical condition,

   (II)     suffering from a serious functional or cognitive impairment, or

   (III) experiencing deteriorating physical or mental health because of the aging
         process,

   that substantially diminishes the ability of the defendant to provide self-care within
   the environment of a correctional facility and from which he or she is not expected to
   recover.
Id. Additional circumstances that may qualify include, the age of the defendant, family

circumstances, and other reasons. Id.

                                         II.       Analysis

         There is no dispute that Defendant Burney is eligible for this Court’s

consideration of his compassionate release motion. Thus, the question before the Court

is whether extraordinary and compelling reasons warrant release. The Court finds that

Defendant Burney has failed to demonstrate extraordinary and compelling reasons.

         While this Court recognizes the seriousness of the Covid-19 illness, “the mere

existence of COVID-19 in society and the possibility that it may spread to a particular

prison alone cannot independently justify compassionate release, especially considering

BOP's statutory role, and its extensive and professional efforts to curtail the virus's

spread.” United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020) (citation omitted).

Notably, FCI McKean has not yet experienced a Covid-19 outbreak; in fact, FCI McKean

has low infection rates. See COVID-19 Coronavirus, FEDERAL BUREAU OF PRISONS,

https://www.bop.gov/coronavirus/ (last visited January 4, 2021). Defendant argues,

however, that there is “no guarantee that the BOP or FCI McKean can protect[his]

health” and that his “weakened” health conditions put him at greater risk for severe

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illness if he contracts Covid-19. [Dkt. No. 39.] Generally, Court’s consider whether an

inmate’s medical condition presents an increased risk for severe illness from Covid-19,

in determining whether the defendant has presented an extraordinary and compelling

reason for a reduction of sentence. See United States v. Hynes, No. 3:18-CR-00222,

2020 WL 6060984, at *3 (D.N.J. Oct. 14, 2020). In making this determination, courts

look to those conditions the CDC has identified as high-risk factors. Here, Defendant

Burney has not claimed to suffer from any condition on the CDC’s list of high-risk

conditions. See People with Certain Medical Conditions, CDC,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-

medical-conditions.html (last visited January 4, 2021).

       Defendant Burney does suffer from hypertension, which the CDC has identified

as a condition that “might” cause an “increased risk for severe illness from the virus that

causes Covid-19.” (Id.). But as the Government submits, many district courts have

denied release to inmates who suffer from hypertension, including those within this

district. [See Dkt. No. 35, p. 17-18 (collecting cases)]; see also United States v. Wilson,

No. CR 13-787-4 (SDW), 2020 WL 7074377, at *2 (D.N.J. Dec. 3, 2020) (“[M]ultiple

courts in this District have denied compassionate release to inmates suffering from

hypertension, despite the risk of COVID-19.”). Additionally, Defendant acknowledges

that he receives treatment and medication at FCI McKean for his hypertension. To be

sure, according to Defendant, each of his complaints and conditions are monitored.

       Defendant Burney’s family circumstances similarly fail to establish extraordinary

and compelling reason for release. Generally, family circumstances qualify as

extraordinary and compelling reasons in the event of: “The death or incapacitation of

the caregiver of the defendant’s minor child or minor children. The incapacitation of the

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defendant’s spouse or registered partner when the defendant would be the only

available caregiver for the spouse or registered partner.” U.S.S.G § 1B1.13 n.1(C). Here,

Defendant Burney’s mother, while ill, is cared for at a rehabilitation and nursing center,

and his son is not a minor. Although the Court is sympathetic to the defendant’s

mother’s health condition and his son’s difficulties during this pandemic, their situation

does not warrant granting Defendant’s motion.

       Even if Defendant’s medical and family circumstances presented extraordinary

and compelling circumstances for compassionate release, “a court may deny the

requested relief if the 18 U.S.C. § 3553(a) factors do not weigh in favor of the defendant's

release. United States v. Adams, No. 3:00-CR-00697, 2020 WL 6063055, at *5 (D.N.J.

Oct. 14, 2020) (citing United States v. Pawlowski, 967 F.3d 327 (3d Cir. 2020)). In this

case, the § 3553(a)’s factors weigh against granting Defendant Burney’s request. First,

the nature of Defendant Burney’s offense—bank robbery—is certainly serious. During

the robbery of the PNC Bank in Marlton, New Jersey, Defendant threatened to shoot

what appeared to be a gun. Even if there was no real weapon involved, Defendant

Burney made threats with this “gun” in the commission of his crimes, and recognized

the fear this instilled in his victims. Defendant Burney further admitted to two other

separate bank robberies, which his guideline rage took account of at sentencing.

        Accordingly, Defendant Burney presents a danger to the community, and the

Court finds that releasing him at this time would not reflect the seriousness of his

offense, nor promote respect for the law. To be sure, Courts in this circuit have

consistently considered the seriousness of multiple bank robberies in denying

compassionate release in order to protect the public from further crimes of the

defendant. See, e.g., United States v. Hicks, No. CR 13-547, 2020 WL 5749943, at *7

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(E.D. Pa. Sept. 25, 2020) (“Although Defendant's crimes appear to be non-violent only

in the sense that no weapons were used, he has seven prior convictions

for bank robbery and committed the bank robbery for which he is incarcerated only one

month after his release from prison for committing the other six bank robberies. . . .

Defendant has consistently violated his release terms and even committed other crimes.

Given this background, there is no assurance that Defendant would be deterred from

committing additional crimes if released. In short, he is a danger to the community.”);

United States v. Berry, No. CR 10-051-1, 2020 WL 4035457, at *3 (D.N.J. July 17,

2020); United States v. Cantatore, No. CR 16-0189, 2020 WL 2611536, at *5 (D.N.J.

May 21, 2020).

       Defendant Burney has also committed six previous bank robberies between

September 25, 2006 and May 21, 2007. PSR ¶ 69. Defendant was sentenced to 100

months in prison and 3 years supervised release for those offenses. His supervised

release ended on September 2, 2017. Defendant Burney was arrested for the Marlton

Bank robbery only months later, in December 2017, which lead to his current sentence.

At his sentencing in 2019, Defendant Burney’s offense level was 26, and his criminal

history category was III. The Court carefully considered the sentencing guidelines and

the relevant factors in sentencing Defendant towards the middle of the applicable

range—78 to 97 months. At that time, the Court noted the risk of Defendant’s

recidivism. Despite Defendant Burney’s lack of disciplinary reports thus far, and his

pledge to live a crime-free life, the concern for recidivism endures. An early release, or

reduction in sentence, would not afford specific or general deterrence for his criminal

conduct.



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                                      III.   Conclusion


       For the foregoing reasons, Defendant's Motion for Compassionate Release,

pursuant to the First Step Act, 18 U.S.C. § 3582(c)(1)(A), will be denied.

An accompanying order shall issue.



Dated: January 6, 2021

                                                          ____/s/ Joseph H. Rodriguez__

                                                          JOSEPH H. RODRIGUEZ, USDJ




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